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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------x
UNITED STATES OF AMERICA           :
                                   :
                                   :          20-cr-188 (JSR)
          -v-                      :
                                   :          OPINION & ORDER
HAMID AKHAVAN & RUBEN WEIGAND,     :
                                   :
     Defendants.                   :
                                   :
-----------------------------------x

JED S. RAKOFF, U.S.D.J.

     This case began less than one year ago, on March 9, 2020,

when a grand jury returned indictments against Ruben Weigand and

Hamid (“Ray”) Akhavan for conspiracy to commit bank fraud.            Today,

the Court will empanel a jury to try the case.

     The intervening year has been challenging.            Just two days

after the indictments were returned, the World Health Organization

declared a global pandemic.1         Two days later, President Trump

announced   that   “[t]o   unleash   the   full   power   of   the   federal

government, in this effort today I am officially declaring a

national emergency.    Two very big words.”2       Since then, the total




1 James Keaton, et al., WHO Declares Coronavirus a Pandemic, Urges
Aggressive      Action,      Reuters     (Mar.      12,     2020),
https://apnews.com/article/52e12ca90c55b6e0c398d134a2cc286e.

2 The New York Times, Two Very Big Words: Trump Announces National
Emergency      for      Coronavirus      (Mar.     13,      2020),
https://www.nytimes.com/video/us/politics/100000007032704/trump-
coronavirus-live.html.



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number of confirmed COVID-19 cases has surpassed 113 million

worldwide, and more than 2.5 million people have died.3             In the

United States alone, there have been more than 28 million confirmed

cases, and more than half a million people have died.4

      Recognizing   the   importance     of   the   defendants’   and   the

public’s right to a speedy trial, and despite the complexity of

this case and the many difficulties generated by the pandemic, the

Court has expended considerable effort to bring the case swiftly

and safely to trial.      So have many others: support personnel at

the   courthouse;   Pretrial    Services      Officers;   U.S.    Marshals;

witnesses who have been subpoenaed and who will travel to the

courthouse, some from great distances; counsel for both sides,

including some who have flown across the country to defend their

clients; and now, dozens of jurors who, despite the risk, will

board buses and subways to answer the call to discharge one of

their most sacred civic duties.

      Now before the Court are two motions relating to the pandemic

and the Court’s response to it.         First, Weigand moves to dismiss

the indictment under the Speedy Trial Act and the constitutional




3Henrik Petterson, et al., Tracking COVID-19’s Global Spread, CNN,
https://www.cnn.com/interactive/2020/health/coronavirus-maps-
and-cases/ (last accessed Feb. 28, 2021).

4 Centers for Disease Control & Prevention (“CDC”), COVID Data
Tracker,   https://covid.cdc.gov/covid-data-tracker/#datatracker-
home (last accessed Feb. 28, 2021).

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Speedy Trial Clause, arguing that the COVID-19 pandemic did not

offer a valid basis for adjourning this trial from its originally

scheduled date, December 1, 2020, until today. This motion borders

on the frivolous and is denied for reasons set forth below.

     Second, Martin Elliott and his employer, Visa, Inc., third

parties, have been subpoenaed to give trial testimony in this case.

However, Elliott resides in California and contends that, because

of his personal medical situation and that of his family, he is

unable to travel to New York and back during the pandemic without

seriously jeopardizing his and their health.         He moves for leave

to testify by two-way videoconference.       The defendants oppose the

motion, arguing that permitting such testimony would violate their

Sixth Amendment right to confront witnesses against them.              The

Court granted Elliott’s motion orally on February 19, 2021, see

Tr., and this Opinion sets forth the basis for that ruling.

  I. WEIGAND’S MOTION TO DISMISS THE INDICTMENT ON SPEEDY TRIAL
     GROUNDS

     Anyone who has appeared before the undersigned knows that

this Court moves its cases swiftly.        This is especially true in

criminal cases, where

     [i]nordinate delay between public charge and trial,
     wholly aside from possible prejudice to a defense on the
     merits, may seriously interfere with the defendant’s
     liberty, whether he is free on bail or not, and may
     disrupt his employment, drain his financial resources,
     curtail his associations, subject him to public obloquy,
     and create anxiety in him, his family and his friends.



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United States v. Taylor, 487 U.S. 326, 340 (alterations omitted).

Even so, moving a document-heavy white-collar case like this from

indictment      to     trial    in   less       than     one    year    would     be    an

accomplishment under even normal circumstances, let alone the

delays brought on by the pandemic.               The argument that the delay in

this action violated Weigand’s rights under the Speedy Trial Act

is   specious     at    best,    and   the       claim    that     it     violated     his

constitutional rights is frivolous.                The Court takes up Weigand’s

statutory and constitutional arguments, in turn.

      A. Speedy Trial Act

              1. Legal Standard

      The Speedy Trial Act sets guardrails on federal courts’ powers

to delay criminal trials.            It provides that trial “shall commence

within seventy days from the filing date (and making public) of

the information or indictment, or from the date the defendant has

appeared before a judicial officer of the court in which such

charge   is    pending,     whichever       date   last        occurs.”      18   U.S.C.

§ 3161(c)(1).          However, the 70-day clock is not always running.

Certain “periods of delay shall be excluded . . . in computing the

time within which the trial of any such offense must commence.”

Id. § 3161(h).         Some exclusions operate automatically, including,

as relevant here, “[a]ny period of delay resulting from other

proceedings concerning the defendant, including but not limited to

. . . delay resulting from any pretrial motion, from the filing of


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the motion through the conclusion of the hearing on, or other

prompt     disposition    of,     such     motion”   and     “delay   reasonably

attributable to any period, not to exceed thirty days, during which

any   proceeding      concerning     the     defendant     is   actually   under

advisement by the court.”         Id. § 3161(h)(1)(D), (H).           In addition

to these automatic exclusions, the Court may exclude periods of

time in the interests of justice.            Specifically, the 70-day clock

does not run

      if the judge granted [a] continuance on the basis of his
      findings that the ends of justice served by taking such
      action outweigh the best interest of the public and the
      defendant in a speedy trial. No such period of delay
      resulting from a continuance granted by the court in
      accordance with this paragraph shall be excludable under
      this subsection unless the court sets forth, in the
      record of the case, either orally or in writing, its
      reasons for finding that the ends of justice served by
      the granting of such continuance outweigh the best
      interests of the public and the defendant in a speedy
      trial.

Id. § 3161(h)(7)(A).       “[I]n determining whether to grant [such] a

continuance,”    the     Court    “shall     consider”      certain   enumerated

factors,     “among    other[]”     non-enumerated         factors;   enumerated

factors include “[w]hether the failure to grant such a continuance

in the proceeding would be likely to make a continuation of such

proceeding impossible, or result in a miscarriage of justice.”

Id. §3161(h)(7)(B)(i).




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            2. Analysis

       Weigand’s initial appearance before this Court took place

remotely, with Weigand’s consent, on April 28, 2020.               Thus, the

70-day clock would have begun ticking on that day.             However, on

that day the Court set the case for trial on December 1, 2020 and,

without objection, granted an exclusion of time until December 1,

2020   under    18   U.S.C.   §   3161(h)(7)(A),   finding   the   exclusion

“necessary for the completion of discovery, the making and deciding

of motions, the accommodation of counsel’s complicated schedules,

[and] the special delays put in place by the coronavirus crisis,”

among other reasons.          Tr., ECF No. 30, at 12:18-21.          Weigand

concedes that time was properly excluded through December 1, 2020.

       The case progressed swiftly.        On May 11, 2020, the defendants

moved for a bill of particulars pursuant to Federal Rule of

Criminal Procedure 7(f), and the Court granted that motion on May

20, 2020.      ECF Nos. 35-38.    On June 26, 2020, the defendants moved

to dismiss the indictment, to compel certain discovery, and to

suppress certain evidence seized from Weigand incident to his

arrest.     ECF Nos. 61-74.        The parties briefed and argued the

motions, and the Court issued an Opinion and Order granting them

in part and denying them in part on August 31, 2020.           ECF No. 91.

Discovery continued in earnest through summer and fall 2020.

Throughout this time, the Court granted Weigand’s requests to

remain in custody in California, rather than requiring that he be


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brought to the Southern District of New York; this permitted his

California-based counsel to meet with him more easily.          Moreover,

on October 6, 2020, the Court granted Weigand’s renewed motion for

bail, permitting him to be released into the custody of private

security guards and further facilitating his access to counsel.

ECF No. 112.

     The parties and the Court were on track to proceed with trial

on December 1, 2020, but the trial did not proceed for one reason:

the COVID-19 pandemic.    On November 30, 2020, Chief Judge McMahon

issued a standing order announcing a “temporary curtailment of

operations [that] is required to preserve public health and safety

in light of the recent spike in coronavirus cases, both nationally

and within the Southern District of New York.”           Standing Order

M-10-468, at 1, In re: Coronavirus/COVID 19 Pandemic, Dkt. No. 20-

mc-622-CM (Nov. 30, 2020). The Standing Order provided that “[a]ll

jury trials scheduled for the period beginning December 1, 2020

and ending January 15, 2021 are adjourned.”        Id. at 2.

     On December 1, 2020, the Government filed a letter that stated

in part, “For the reasons set forth in the Chief Judge’s Standing

Order, as well as those previously stated by the Court when it

excluded time through today, the Government respectfully requests

the exclusion of time under the Speedy Trial Act from today through

January 15, 2021.”     Ltr, ECF No. 123.       The Court endorsed the




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letter by writing, “So ordered,” that same day.        ECF No. 124.    The

Court adjourned the trial to January 25, 2021.

     The Chief Judge issued a First Amended Standing Order on

January 5, 2021, extending the suspension of jury trials in the

District through February 12, 2021 because of a continuing surge

in COVID-19 cases.   First Amended Standing Order M-10-468, In re:

Coronavirus/COVID 19 Pandemic, Dkt. No. 20-mc-622-CM (Jan. 5,

2021).   On January 7, 2020, the Court conducted a teleconference

regarding the need to further adjourn this trial.              The Court

explained that it was still hopeful that the trial could proceed

in March, or perhaps even in late February, but warned counsel

that, due to limitations in the number of courtrooms that have

been outfitted with equipment to permit safe trials during the

pandemic and given previously scheduled cases, a trial in February

or March might not be possible.        Because counsel were unavailable

for a trial in April or early May, the Court

     set the trial down for May 17th. And pursuant to the
     Speedy Trial rules, [the Court] exclude[d] all time
     between [January 7] and [May 17], finding that because
     of the pandemic the best interests of justice in
     excluding  such   time  substantially   outweighs  the
     interests of the public and the defendants in a speedy
     trial.

Tr., ECF No. 130, at 9:11-16.

     Weigand’s counsel objected, arguing that Weigand is a German

citizen with no criminal history; that this was a “no-loss” fraud

in which no banks had been harmed; and that discovery had been


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completed, pretrial motions had been decided, and “there’s nothing

remaining to do.”   Id. at 15:5-13.    The Court asked, “So you think

those grounds override the risk of someone dying from COVID-19 if

we went forward with a trial, say, tomorrow?”          Id. at 15:16-18.

Weigand’s counsel responded, “Certainly not, Your Honor.”          Id. at

15:19-20.   The Court adhered to its ruling, excluding time through

May 17, 2021.

     1. The Court’s Exclusions Were Proper

     The Court’s exclusions of time based on the pandemic were

proper.     Due to specific surges in COVID-19 cases around the

holidays, the Chief Judge adjourned all jury trials, ultimately

for a period of 11 weeks.       During that time, many of the most

vulnerable members of the public, and many courthouse employees,

were vaccinated.    While the courthouse cannot entirely eliminate

the possibility of COVID-19 transmission during a trial -- let

alone the possibility of transmission during travel to and from

the courthouse -- now that many of the most vulnerable members of

our population have been vaccinated, and given the downward trend

in cases, the “risk of someone dying from COVID-19” because of the

trial is markedly lower now than it was in December.          As Weigand

himself conceded, his interests in a slightly speedier trial do




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not override this risk, which would have been markedly more

significant during the winter COVID-19 spike.5

     2. Even Without the Court’s Exclusion of Time, 70 Days of
        Non-Excludable Time Have Not Passed

     Even setting aside this Court’s pandemic-induced exclusions

of time, 70 days of non-excludable time have not yet passed.

     The Speedy Trial Act automatically excludes “[a]ny period of

delay resulting from other proceedings concerning the defendant,

including but not limited to . . . delay resulting from any

pretrial   motion,   from   the   filing   of   the   motion   through   the

conclusion of the hearing on, or other prompt disposition of, such

motion” and “delay reasonably attributable to any period, not to

exceed thirty days, during which any proceeding concerning the

defendant is actually under advisement by the court.”            18 U.S.C.

§ 3161(h)(1)(D), (H).       Other courts have found that motions in

limine are pretrial motions for purposes of this provision.             E.g.,


5 Weigand also argues that the Court’s “so ordered” exclusion on
December 1 was inadequate because it did not explicitly state the
basis for the Court’s exclusion of time. The Supreme Court has
explained on this issue that “the findings must be made, if only
in the judge’s mind, before granting the continuance,” Zedner v.
United States, 547 U.S. 489 (2006), and “must be put on the record
by the time a district court rules on a defendant’s motion to
dismiss,” id. at 506-07. Before granting the exclusion of time,
this Court found, in its own mind, that the exclusion was warranted
because of the pandemic. And the Court unambiguously explained
its reasoning during the teleconference on January 7. Tr., ECF
No. 130, at 15:21-23 (“The whole reason for these adjournments is
the pandemic, nothing else. The government is ready to go. I’m
ready to go.”). Thus, there is no merit to the argument that the
Court failed to articulate the basis for its ruling.

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United States v. Jones, No. 15-CR-133S, 2017 WL 2957818, at *6

(W.D.N.Y. July 11, 2017).     This Court agrees.

     The Government filed a motion in limine on February 5, 2021,

which the Court granted in part and denied in part on February 14.

All parties filed additional motions in limine on February 16,

2021, which remain pending and on which the Court will rule before

opening arguments today.

     The February 5 motion was, and the February 16 motions will

be, promptly resolved less than 30 days after they were taken under

advisement.   Thus, time is excluded “from the filing of [each]

motion through the . . . prompt disposition” of the motion, i.e.,

from February 5 through February 14 for the earlier motion and

from February 16 through today for the subsequent motions.

     Therefore, even assuming contrary to fact that there was a

defect in the Court’s exclusions of time in the interests of

justice under the Speedy Trial Act, no more than 66 non-excludable

days have passed since December 1, 2020: 65 days from December 2

through February 4, plus February 15 (the day between the Court’s

ruling on the initial motion in limine and the filing of the

remaining motions).6




6February 15 might also be properly excluded because a third-party
motion to quash was pending.     The Court need not resolve that
question because, either way, 70 non-excludable days have not
passed.

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     B. Speedy Trial Clause

     The Court need not dwell on Weigand’s claim that the delay in

this case violates his constitutional right to a speedy trial.

     When conducting a constitutional speedy trial inquiry, courts

look, as a threshold matter, to the length of the delay; a court

“will only consider the other . . . factors when the defendant

makes a showing ‘that the interval between accusation and trial

has crossed the threshold dividing ordinary from presumptively

prejudicial delay.’”     United States v. Ghailani, 733 F.3d 29, 43

(2d Cir. 2013) (quoting Doggett v. United States, 505 U.S. 647,

652 (1992)) (further quotation marks omitted).              A delay that

“approaches one year” triggers further inquiry.         Doggett, 505 U.S.

at 652 n.1.     Trial in this case will commence eight days shy of

one year after indictment, so the Court assumes without deciding

that further inquiry is necessary.

     To assess whether a speedy trial violation has occurred, the

Court considers four factors: “length of delay, the reason for the

delay, the defendant’s assertion of his right, and prejudice to

the defendant.” United States v. Moreno, 789 F.3d 72, 78 (2d Cir.

2015) (quoting Barker v. Wingo, 407 U.S. 514, 530 (1972)) (brackets

omitted).     Balancing these factors, Weigand’s claim easily fails.

First, the less-than-one-year delay, while perhaps sufficient to

trigger   further   inquiry,   is   unremarkable   in   a   case   of   such

complexity.    Second, the delay through December 1, 2020 is equally


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attributable to the Government and to the defendants, and the

three-month delay thereafter is not attributable to the Government

but rather to the pandemic, a neutral reason outside of the

Government’s control.      Third, while Weigand properly and timely

asserted his speedy trial rights for delays after December 1, he

explicitly waived any argument that prior delays were improper.

Finally, Weigand argues that he has suffered various forms of

prejudice: needing to undergo medical treatment in prison, a year

away from his family, costs, loss of livelihood, and psychological

trauma   associated    with   incarceration        during   the   pandemic.

However, most of these had nothing to do with the three-month delay

from December 1 to March 1, the only cognizable delay for present

purposes.     The   only   prejudice    he   has   demonstrated    that   is

attributable to that delay is, almost circularly, the additional

time he has spent away from his family and the associated costs

and continued harms to his livelihood.

     In sum, the three-month delay attributable to the pandemic

comes nowhere close to violating Weigand’s constitutional right to

a speedy trial.

  II.    MARTIN ELLIOTT’S MOTION TO TESTIFY BY VIDEO

     The Court next turns to another coronavirus-related motion,

the motion by third parties Visa, Inc., and Martin Elliott to offer

trial testimony from California by two-way video technology.              The

defendants oppose the motion, arguing that permitting videophonic


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testimony   would    violate   their     rights    under   the   Confrontation

Clause of the Sixth Amendment.         The Government takes no position.

Following expedited briefing and oral argument, the Court granted

the motion on February 19, 2021.            This Opinion explains the basis

for that ruling.

      A. Background

      The Government has subpoenaed Elliott, commanding that he

testify at this trial.      Akhavan has also subpoenaed Visa for trial

testimony, and Visa intends to offer Elliott as its witness to

discharge that obligation.          Elliott was Visa’s Global Head of

Franchise Risk Management during the relevant period.              Although he

represents that he “has no firsthand knowledge of the specific

transactions at issue in this case,” he is expected to provide, in

his counsel’s words, “process-type testimony about the workings of

the Visa payment network.”         Elliott Ltr. Motion, ECF No. 174, at

1.   The defendants do not contest this description, although they

maintain that “questions about what Visa’s policies did (or did

not) require and how Visa did (or did not) enforce those policies

are among the most critical questions in this case.”               Ltr. Opp.,

ECF No. 175, at 5.

      Elliott   is    57   years   old      and   has   been   diagnosed   with

hypertension and atrial fibrillation (a heart condition).                   His

wife is 55 and has been diagnosed with hypertension.                   To his

knowledge, no one in his household has contracted COVID-19, and no


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one has received the coronavirus vaccine.               He and his wife are

also the primary caretakers of his 83-year-old mother-in-law, who

has received the first dose of the COVID-19 vaccine. Elliott lives

in   the   San   Francisco   Bay   area   and   would   need   to   travel   by

commercial flight to testify in this trial.             He avers that he and

his wife have diligently complied with Centers for Disease Control

and Prevention (“CDC”) guidance during the pandemic.                They have

not left California since early 2020 and have not flown on an

airplane since the early summer.

      Elliott’s    age   and   preexisting      conditions     place   him   at

increased risk of serious illness or death if he were to contract

COVID-19.    The CDC has found that people aged 50-64 are 400 times

more likely to die and 25 times more likely to be hospitalized

from COVID-19 than children aged 5-17 years, and are more than 25

times more likely to die and 3 times more likely to be hospitalized

than young adults aged 18-29.7       On top of that, “adults of any age”

with “heart conditions, such as heart failure, coronary artery

disease, or cardiomyopathies” “are at increased risk of severe

illness” from COVID-19, and “adults of any age” with hypertension

“might be at an increased risk for severe illness.”8


7       CDC,        Older       Adults        and       COVID-19,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
precautions/older-adults.html (last accessed Feb. 28, 2021).

8 CDC, Certain Medical Conditions and Risk for Severe COVID-19
Illness,    https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

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     Although COVID-19 cases are trending downward, they remain

high, and the “CDC recommends that [people] do not travel at this

time.”9   Under present courthouse policy, those who do travel from

outside New York and its adjacent states must quarantine for four

days and then obtain a negative COVID-19 test on the fifth day

before they may enter the courthouse.       Elliott points out that if

he testified in person, then, due to the heightened risks faced by

his wife and mother-in-law, he would also need to quarantine apart

from his family after returning to California.

     B. Legal Standard

     None dispute that the Court has the inherent authority to

permit testimony by videophonic means, unless doing so would be

contrary to federal law.     Defendants argue that such testimony is

impermissible here for one reason, the Confrontation Clause of the

Sixth Amendment, which provides: “In all criminal prosecutions,

the accused shall enjoy the right . . . to be confronted with the

witnesses against him.”     U.S. Const. amend. VI.

     “The primary object of” this clause is “to prevent depositions

or ex parte affidavits, such as were sometimes admitted in civil




precautions/people-with-medical-conditions.html          (last   accessed
Feb. 28, 2021).

9          CDC,         Travel          During          COVID-19,
https://www.cdc.gov/coronavirus/2019-ncov/travelers/travel-
during-covid19.html (last accessed Feb. 28, 2021).

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cases, being used against the prisoner.”         Maryland v. Craig, 497

U.S. 836, 845 (1990).     Instead, courts generally must permit

     a personal examination and cross-examination of the
     witness in which the accused has an opportunity, not
     only of testing the recollection and sifting the
     conscience of the witness, but of compelling him to stand
     face to face with the jury in order that they may look
     at him, and judge by his demeanor upon the stand and the
     manner in which he gives his testimony whether he is
     worthy of belief.

Id. (internal quotation marks and citation omitted).

     C. Analysis

     A “confrontation” encompasses several elements -- “physical

presence, oath, cross-examination, and observation of demeanor by

the trier of fact” -- that together “serve[] the purposes of the

Confrontation Clause by ensuring that evidence admitted against an

accused is reliable and subject to . . . rigorous adversarial

testing[.]”     Id. at 846.    Despite the values of confrontation,

however, the Supreme Court “ha[s] never held . . . that the

Confrontation Clause guarantees criminal defendants the absolute

right to a face-to-face meeting with [all] witnesses against them

at trial.”    Id. at 844.     For example, “a literal reading of the

Confrontation    Clause   would   abrogate   virtually    every    hearsay

exception,” a result the Court has long rejected.             Id. at 848

(internal quotation marks and citation omitted).

     Confrontation    Clause      analysis   comprises     two    distinct

questions.    First, a court must ascertain whether the evidence in



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question     even      implicates      the    accused’s     right     to   confront

“witnesses      against   him.”        The    Supreme   Court   identifies        such

evidence as “testimonial.”            This question is not difficult in this

case.    If Elliott were offering evidence by means of an affidavit,

then some aspects of his testimony might bear on matters, like

Visa’s    policies,      that   are    sufficiently       ministerial      that    his

statement might qualify as non-testimonial.                See, e.g., Melendez-

Diaz v. Massachusetts, 557 U.S. 305, 324 (2009) (“[H]aving been

created for the administration of an entity's affairs and not for

the purpose of establishing or proving some fact at trial[,]

[certain records would] not [be] testimonial.”); United States v.

Boyd, 686 F. Supp. 2d 382, 386 (S.D.N.Y. 2010), aff'd, 401 F. App'x

565 (2d Cir. 2010) (“[W]here the defendant had ample opportunity

to   confront    the    Government      witness   who     undertook    the   final,

critical stage of the DNA analysis, and where that witness was

personally familiar with each of the prior steps, testified that

the analysis included safeguards to verify that errors would not

result in a false positive, and demonstrated that the prior steps

were essentially mechanical in nature, the Confrontation Clause is

satisfied.”).       But Elliott will be testifying live, so there is no

doubt that his statements will be testimonial.               See Melendez-Diaz,

557 U.S. at 310 (“[T]estimonial statements” include “ex parte in-

court testimony or its functional equivalent” and “statements that

were made under circumstances which would lead an objective witness


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reasonably to believe that the statement would be available for

use at a later trial[.]”) (internal quotation marks and citations

omitted).   After all, the purpose of the “testimonial” inquiry is

to assess whether, in the words of the Sixth Amendment, the

declarant is a “witness,” and Elliott will obviously be one.            Put

simply, testimony is always “testimonial.”

     Ordinarily,   this   ends    the   Confrontation    Clause    inquiry

because a defendant has a right to confront witnesses against him.

But in some cases, courts also face a second question: whether the

“confrontation” requirement may be satisfied by something short of

traditional, live, in-court testimony.

     In Maryland v. Craig, for example, the Supreme Court found

that live testimony through a one-way videoconferencing system

satisfied the Confrontation Clause.         The state court permitted

such technology so that a child witness could testify regarding

alleged abuse without facing the accused.         The Court “f[ou]nd it

significant” that, other than requiring the witness to face the

defendant, the procedure “preserves all of the other elements of

the confrontation right,” including oath, cross-examination, and

the ability of the judge, jury, and defendant to view the witness’s

demeanor.   Craig, 497 U.S. at 851.     The Court recognized “the many

subtle effects face-to-face confrontation may have on an adversary

criminal proceeding,” but it nevertheless found that the one-way

videoconference procedure “adequately ensures that the testimony


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is both reliable and subject to rigorous adversarial testing in a

manner functionally equivalent to that accorded live, in-person

testimony.”        Id.    The Court concluded “that use of the one-way

closed circuit television procedure, where necessary to further an

important state interest, does not impinge upon the truth-seeking

or symbolic purposes of the Confrontation Clause.”                      Id. at 852.

And the Court held that Maryland’s “interest in the physical and

psychological well-being of [the] child abuse victim[]” was an

important state interest furthered by the one-way video procedure

used in the state court.              Id.        Therefore, the Court found no

Confrontation Clause violation.              Id. at 857.

     The    Second       Circuit    likewise       approved   the     use   of   video

testimony in United States v. Gigante, 166 F.3d 75 (2d Cir. 1999).

Gigante held that, “upon a finding of exceptional circumstances,

. . . a trial court may allow a witness to testify via two-way

closed-circuit       television      when    this    furthers    the    interest    of

justice.”     Id.        The Second Circuit reviews a district court’s

“exceptional       circumstances”       determinations          for    “abuse      [of]

discretion.”       Id. at 82.

     The Gigante panel reasoned that Federal Rule of Criminal

Procedure     15     permits       deposition      of   pretrial       witnesses    in

exceptional circumstances and that courts permit such deposition

testimony to be used at trial if the witness is unavailable.                        The

panel explained that


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      two-way closed-circuit presentation of [the witness’s]
      testimony afforded greater protection of Gigante’s
      confrontation rights than would have been provided by a
      Rule 15 deposition [that was later introduced at trial].
      It forced [the witness] to testify before the jury, and
      allowed them to judge his credibility through his
      demeanor and comportment; under Rule 15 practice, the
      bare transcript of [the witness’s] deposition could have
      been admitted, which would have precluded any visual
      assessment of his demeanor.    Closed-circuit testimony
      also allowed Gigante's attorney to weigh the impact of
      [the witness’s] direct testimony on the jury as he
      crafted a cross-examination.

Id.   The panel concluded that if Gigante could have been deposed

under Rule 15, then a fortiori he could be examined by two-way

videoconference.    Because the witness “was in the final stages of

an inoperable, fatal cancer,” id. at 79, and was “participat[ing]

in the Federal Witness Protection Program,” id. at 81-82, the

Second   Circuit   held   that   the    use   of   two-way   videoconference

technology was consistent with the Confrontation Clause.             Gigante

has never been overturned by the Second Circuit.

      The defendants argue that Gigante is no longer good law

because it conflicts with the Supreme Court’s 2004 opinion in

Crawford v. Washington, 541 U.S. 36 (2004).              In Crawford, the

Supreme Court ruled that certain out-of-court statements could not

be admitted, consistent with the Confrontation Clause, unless the

defendant was allowed to cross-examine the declarant.                Drawing

from historical evidence, the Court explained that “the principal

evil at which the Confrontation Clause was directed was the

civil-law mode of criminal procedure, and particularly its use of


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ex parte examinations as evidence against the accused.”                  Id. at

50.   Thus, the Court held that testimonial out-of-court statements

are only admissible when the witness is “unavailab[le]” and where

there was “a prior opportunity for cross-examination.”                Id. at 68.

      The error in defendants’ reasoning is that Crawford and

Gigante answered different questions.           Crawford addressed whether

confrontation was required for certain out-of-court statements.

Gigante addressed whether, when the defendant undeniably has a

Confrontation     Clause    right,   that    right   can   be   vindicated    in

exceptional circumstances by video testimony.              The answer to that

question is yes.        By arguing otherwise, defendants would have this

Court believe that the Crawford Court overruled Maryland v. Craig.

But the majority opinion in Crawford did not even mention Craig.

This Court declines to find that the Supreme Court overruled Craig

sub silentio, just fourteen years after issuing that opinion, with

nary a word about stare decisis.

      Because    Crawford    answered    a   different     question    than   the

question presented here, and because Gigante is consistent with

Craig,   the    Court    applies   Gigante,   asking     whether   Elliott    is

“unavailable” and whether “exceptional circumstances” warrant the

use of two-way video testimony.10 Here, these two inquiries largely


10The witness and the defendants suggest that Elliott’s testimony
must also be “material” to warrant the use of two-way video
testimony, citing Judge Forrest’s opinion in United States v.
Mostafa, 14 F. Supp. 3d 515, 519 (S.D.N.Y. 2014). The Court need

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overlap.     Elliott    cannot   travel    across   the   country   without

subjecting himself to a substantial risk of contracting COVID-19.

Given his age and comorbidities (as well as, to a lesser extent,

the risks his family would face), contracting COVID-19 could well

result in serious illness or death.          Therefore, the Court finds

that Elliott is “unavailable” to testify in person within the

meaning of Gigante.       Likewise, the need to prevent Elliott’s

serious illness or death (and to protect his family) offers

exceptional circumstances warranting the use of two-way video

testimony.

     The defendants point out that many trial participants (e.g.,

counsel, witnesses, jurors, courthouse staff) must travel to the

courthouse   in   the   presence   of    others   using   public    transit.

However, this does not show that Elliott’s circumstances are not

exceptional.   If other trial participants present similarly severe

risks of severe illness or death, the Court will similarly endeavor

to limit such risks.     To that end, the Court has agreed to permit

two defense attorneys to view the proceedings by video and, with

reasonable advance notice, to argue non-jury motions.              Moreover,

the Clerk of Court’s procedure for summoning jurors has considered,

and the Court’s procedure for selecting jurors will consider,




not consider whether such a requirement exists, because the witness
and the defendants agree that Elliott’s testimony satisfies any
such materiality requirement.

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prospective jurors’ risks of contracting severe COVID-19.          Elliott

merely asks that the Court similarly consider his individualized

circumstances, which are exceptional.11

     Because Elliott has demonstrated that he is unavailable to

testify, and because exceptional circumstances support his request

to testify by two-way video, his motion is granted.12

     The Court has made clear, and here reiterates, that Elliott,

Visa, and their counsel are responsible for making all necessary

technological arrangements for Elliott’s testimony.         The Court has

been assured that this technology will permit the defendants,

defense counsel, the questioner, the judge, and the jurors all to


11 Judge Preska reached a similar conclusion in United States v.
Donziger, No. 11-CV-691 (LAK), 2020 WL 5152162, at *2 (S.D.N.Y.
Aug. 31, 2020), reconsideration denied, No. 11-CV-691 (LAK), 2020
WL 8465435 (S.D.N.Y. Oct. 23, 2020).   Judge Preska reasoned that
a witness “was at heightened risk of serious health complications
if he were to contract COVID-19, that the Government had proposed
adequate procedures to ensure the reliability of his testimony by
video, and that the video testimony would comport with the
requirements of the Sixth Amendment as construed in Maryland v.
Craig, 497 U.S. 836 (1990), United States v. Gigante, 166 F.3d 75
(2d Cir. 1999), and related decisions.” Id. at *1. This Court
agrees, and the same rationale applies here.

12The standard articulated in Craig is satisfied, as well. See
Craig, 497 U.S. at 850 (“[A] defendant's right to confront
accusatory witnesses may be satisfied absent a physical, face-to-
face confrontation at trial only where denial of such confrontation
is necessary to further an important public policy and only where
the reliability of the testimony is otherwise assured.”).
Preventing the serious illness or death of a third-party witness
whose testimony is compelled by subpoena is an important public
policy.   And the procedures applied here, even more than the
one-way video testimony in Craig, will preserve every adversarial
element of confrontation other than physical presence itself.

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see and be seen by the witness.           Cf. United States v. Mostafa, 14

F. Supp. 3d 515, 525 (S.D.N.Y. 2014) (adopting similar approach).

The Court has also been informed that Elliott will testify from

his attorneys’ offices in the San Francisco area and that counsel

for the defendants have been invited to send representatives, who

can be present in the same room as Elliott throughout the entirety

of   his   testimony.      The   Court    need   not   address   whether   such

procedures are constitutionally necessary in this case, but the

Court agrees that they are prudent.            This approach, even more than

the approaches approved in Craig and Gigante, will preserve almost

all “the intangible elements of the ordeal of testifying in a

courtroom.”      See Gigante, 166 F.3d at 81.

        For the foregoing reasons, Weigand’s motion to dismiss the

indictment on speedy trial grounds, ECF No. 183, is denied, and

Visa and Elliott’s motion to testify by video, ECF No. 174, is

granted.

        SO ORDERED.

Dated:       New York, NY                     _______________________
             March 1, 2021                    JED S. RAKOFF, U.S.D.J.
Time:        12:02 a.m.




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